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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                :
                                        :
                                        :
            v.                          :     CRIMINAL NUMBER 21-cr-158 (RC)
                                        :
                                        :
KYLE FITZSIMONS                         :

                                            ORDER

      AND NOW, this            day of                    , 2022, having considered

Defendant’s Motion to Dismiss Count Three and the government’s Response thereto, it is

hereby ORDERED that Mr. Fitzsimons’ Motion is GRANTED. Count Three is hereby

DISMISSED.


                                        BY THE COURT:


                                        ______________________________________________
                                        THE HONORABLE RUDOLPH CONTRERAS
                                        United States District Court Judge
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                :
                                        :
                                        :
             v.                         :      CRIMINAL NUMBER 21-cr-158 (RC)
                                        :
                                        :
KYLE FITZSIMONS


            MR. FITZSIMONS’S MOTION TO DISMISS COUNT THREE

      Kyle Fitzsimons, through undersigned counsel, and pursuant to Rule of Criminal

Procedure 12(3)(B)(v), hereby respectfully requests that the Court dismiss Count Three of

the Superseding Indictment, which charges him with obstruction of an official proceeding

under 18 U.S.C. § 1512(c)(2).

      The Superseding Indictment alleges that, on or about January 6, 2021, in the

District of Columbia and elsewhere, Mr. Fitzsimons

              attempted to, and did, corruptly obstruct, influence, and impede
              an official proceeding; that is, a proceeding before Congress, by
              entering and remaining in the United States Capitol without
              authority, committing an act of civil disorder, and engaging in
              disorderly and disruptive conduct.

ECF No. 5. Of course, Mr. Fitzsimons acknowledges that, although not stated in the

Superseding Indictment, this Court and the parties are aware that the government’s theory

is that assaults, trespassing, and destruction of property alleged elsewhere in the

Superseding Indictment are at least some of the acts the government will rely on to

attempt to prove this charge, and that the “official proceeding” that Mr. Fitzsimons

allegedly obstructed was the January 6, 2021 certification of the electoral college vote for
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the 2020 Presidential Election. The Court should dismiss Count Three because it is fatally

flawed for several reasons.

      First, 18 U.S.C. § 1512(c)(2) only prohibits the corrupt obstruction of tribunal- like

proceedings before Congress related to the administration of justice. It does not prohibit

the obstruction of a proceeding before Congress like the certification of the electoral college

vote. If the allegation is that Mr. Fitzsimons obstructed the certification of the electoral

college vote, that would not be a crime under 18 U.S.C. § 1512(c). Second, the conduct Mr.

Fitzsimons has been accused of committing cannot qualify as conduct that “otherwise

obstructs, influences, or impedes” an official proceeding, within the meaning of Section

1512(c)(2). Third, Section 1512(c)(2) is unconstitutionally vague in that “corruptly” is

undefined and itself vague.

      For these reasons, and in light of the demands of the rule of lenity, Mr.

 Fitzsimons respectfully requests that the Court dismiss Count Three.


      THE CERTIFICATION OF THE ELECTORAL VOTE WAS NOT AN
                     “OFFICIAL PROCEEDING”
 I.     The Electoral Count Act does not contemplate any tribunal-like role for
        Congress, and the related proceeding does not relate to the
        administration of justice.

      The procedures in Congress for certifying the electoral college vote are regarded

primarily as a ministerial act. See Vasan Desavan, Is the Electoral Count Act

Unconstitutional, 80 N.C. L. REV. 1653, 1659 (2002) (“The counting function appears to be

a ministerial duty of tabulation imposed by the Constitution because each of the electoral

colleges meet in their respective states instead of at some central location.”). This is

consistent with the directive set out in the Constitution requiring that “[t]he President of




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the Senate shall, in the presence of the Senate and House of Representatives, open all the

certificates and the votes shall then be counted.” U.S. Const. amend. XII; see also U.S.

Const. art. II, § 1. Nothing in the Constitution or the Electoral Count Act (ECA), codified at

3 U.S.C. §§ 5–6, 15–18 — the legislation that sets out the procedures for the certification

of the electoral college vote, requires the Joint Session of Congress call for witnesses to

bring forth testimony or other evidence to carry out this “counting function.” 1

      Additionally, the Twelfth Amendment provides that once the President of the

Senate has opened all the Certificates, “the votes shall then be counted” and, in the case of

electoral deadlock, the House of Representatives is to “immediately” choose the next

President from those on the list. U.S. Const. amend. XII (emphasis added). These

principles of immediacy “militates against the deliberative aspects of counting and the

judging of the electoral votes.” See Desavan at 1719 (“After all, judicial determinations


      1  Contrast this with The Grand Committee Bill of 1800, a piece of proposed
legislation that would have created a committee to “sit with closed doors” and have the
“power to send for persons, papers, and records to compel the attendance of witnesses” for
determining the results of the electoral college vote. See Desavan at 1671 (quoting House
Special Committee, Counting Electoral College Votes, H.R. Msc. Doc. 44-13, at 17 (1877)).
During the debates on this bill, Senator Charles Pickney, one of the Constitution’s original
framers, noted how this was entirely contradictory of the Framer’s Intent:

             It never was intended, nor could it have been safe, in the
             Constitution, to have given to Congress thus assembled in
             convention, the right to object to any vote, or even to question
             whether they were constitutionally or properly given … To give
             to Congress, even when assembled in convention, a right to reject
             or admit the votes of States, would have been so gross and
             dangerous an absurdity, as the [F]ramers of the Constitution
             never could have been guilty of.

Id. at 1672 (quoting 10 Annals of Cong. 130). Ultimately, the bill failed to pass and no
efforts were ever made to grant Congress the same levels of power proposed therein. See
id. at 1673.



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take time.”).

       Historical practice since the dawn of the Republic confirms this. Prior to and after

the passage of the ECA, there has never been an instance where Congress engaged in a

full-blown investigation with the calling of witnesses to give testimony, requests for

records, or consideration of other evidence in order to decide the electoral vote count. See id.

at 1678–94 (providing a survey of all historical incidents where a problem arose with the

electoral count). 2

       Even during the Joint Session of Congress on January 6, 2021, despite numerous

objections being raised concerning the electoral votes, the objections were overruled

without consideration of any evidence or testimony to support the allegations. See 167

CONG. REC. H79, 105-06, 108, 111 (2021) and 167 CONG. REC.

S16, 25, 32 (2021) (where legislators requested, but did not receive, authority to open

investigation regarding electoral certificates).

       Contrast this process involving the election proceedings against another separate

function where Congress does operate in an adjudicatory function: the power afforded

Congress under the House Judging Clause found in Article I, Section 5 of the Constitution.


       2The only incident that came remotely close to a situation where the Joint Session
arguably acted as a tribunal was during the presidential election of 1876 between Samuel
Tilden and Rutherford B. Hayes. After an issue arose regarding the electoral votes of
several states and, after mediation failed, Congress created an “Electoral Commission” to
resolve the disputed votes. Desavan at 1689. The Commission was to have “the same
powers, if any, now possessed . . . by the two Houses.” Id. at 1690 (quoting Act of Jan. 29,
1877, ch. 37, § 2, 19 Stat. 227, 229). However, there is no indication that the Commission
exercised their powers to inquire and investigate by calling for witnesses or other evidence
before deciding the electoral count. To the contrary, as it is well documented, the members
of the Commission voted along party lines resulting in a victory for the Republican Hayes
requiring the “Compromise of 1877” to avert a political crisis. It is also generally accepted
that the use of this Commission was unconstitutional. See Desavan at 1689, n. 160.



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See U.S. Const. art. I, § 5. That clause provides that “[e]ach House shall be the Judge of

the Elections, Returns and Qualifications of its own Members.” Id. This has been held to

confer upon Congress certain powers that are “judicial in character.” Barry v. United

States ex rel. Cunningham, 279 U.S. 597, 613 (1929). No such clause, however, exists in

any of the provisions related to the electoral count — not in Article II, Section 1 nor in

the Twelfth Amendment. 3 This, at the very least, supports the notion that the Joint

Session of Congress “does not have the authority to judge the elections, returns, and

qualifications of the electors” and that it “is not a judicial tribunal with the power to

investigate” the same. Desavan at 1752; see also 2 Joseph Story, COMMENTARIES ON

THE CONSTITUTION OF THE UNITED STATES § 1464, at 317 (1833) (discussing the

electoral college clause of the Constitution and how “no provision is made for the

discussion or decision of any questions, which may arise”) and 3 Joseph Story, COM-

MENTARIES ON THE CONSTITUTION OF THE UNITED STATES § 831, at 294–95

(1833) (explaining how, on the other hand, the House Judging Clause was viewed as

necessary to safeguard the liberties of the people).

      In sum, little to nothing about the election certification proceedings is akin to a

tribunal proceeding or relates to the administration of justice. This is not only supported by

the language of the Constitution but is also consistent with both the Framer’s intent and

historical practice. And, for the reasons discussed below, this feature of the election


      3  Further, it should be noted that that the House Judging Clause was considered at
the Constitutional Convention of 1787 immediately after the Electoral College Clause in
Article II, Section 1. 2 THE RECORDS OF THE FEDERAL CONVENTION of 1787, at
502–03 (Max Ferrand ed., 1911). It is no coincidence that the Framers thought not to
extend the ability of Congress to “judge” in their own matters as set out in the House
Judging Clause to matters related to the electoral count.



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certification proceedings takes those proceedings out of the realm of proceedings

contemplated by the offense Congress defined in 18 U.S.C. § 1512(c)(2).

II.   Section 1512(c)(2) prohibits obstructing only “official proceedings,” which
      are tribunal-like proceedings relating to the administration of justice.

      Section 1512(c)(2) of Title 18 provides:

             (c) Whoever corruptly—
             (1) alters, destroys, mutilates, or conceals a record, document,
             or other object, or attempts to do so, with the
             intent to impair the object’s integrity or availability for use in an
             official proceeding; or
             (2) otherwise obstructs, influences, or impedes any official
             proceeding, or attempts to do so,
             shall be fined under this title or imprisoned not more than 20
             years, or both.
      Congress defined the term “official proceeding” for purposes of Sections 1512 and

1513 in Section 1515(a)(1), as follows:

             (A) a proceeding before a judge or court of the United States, a
             United States magistrate judge, a bankruptcy judge, a judge of
             the United States Tax Court, a special trial judge of the Tax
             Court, a judge of the United States Court of Federal Claims, or a
             Federal grand jury;
             (B) a proceeding before the Congress;
             (C) a proceeding before a Federal Government agency which is
             authorized by law; or
             (D) a proceeding involving the business of insurance whose
             activities affect interstate commerce before any insurance
             regulatory official or agency or any agent or examiner appointed
             by such official or agency to examine the affairs of any person
             engaged in the business of insurance whose activities affect
             interstate commerce[.] (Emphasis added)

The language of the statute, its history, and several other factors suggest that the term

refers to tribunal-like proceedings relating to adjudication, deliberation, and the




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administration of justice. That is, all of these sources of interpretation point to the

conclusion that the term is limited to proceedings that feature qualities that the

proceedings for certifying the electoral vote lack. As such, though the counting of the

electoral vote takes place in Congress, it is not an “official proceeding.”

     A.     The text in and around Sections 1515 and 1512 support this conclusion.

      The plain language of Section 1515 supports the view that “official proceeding,” as

defined in 1515 and used in 1512(c)(2), is limited to proceedings that feature qualities that

the proceedings for certifying the electoral vote lack.

      No court has yet determined what falls within “Congressional proceeding” as it is

used in Section 1515(a)(1)(B), and few courts have grappled with surrounding terms. See,

e.g., United States v. Ermoian, 752 F.3d 1165, 1168, 1169 (9th Cir. 2013) (“Our circuit has

never before addressed the meaning of the term ‘official proceeding’ as used in the

obstruction of justice statute at 18 U.S.C. § 1512.”). In Ermoian, the Ninth Circuit

analyzed the text in and surrounding Sections 1515 and 1512 to determine that the phrase

“a proceeding before a Federal Government agency which is authorized by law” in Section

1515(a)(1)(C) does not include FBI investigations. Id. 1172. The same analysis shows that

Section 1515(a)(1)(B) does not include the counting of electoral votes.

      As it must have, the Ninth Circuit began with the text of the statute. Id. The court

noted that the definition of “official proceeding” “depends heavily on the meaning of the

word ‘proceeding,’” and “[t]hat word is used — somewhat circularly — in each of the

definitions for an ‘official proceeding’ and is key to the phrase’s meaning.” Id. at 1169. The

court acknowledged, as the defense does here, that the lay interpretation of “proceeding” is

quite broad and can include “a mere ‘action or series of actions.’” Ermoian, 752 F.3d at



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1169 (citing “Proceeding,” Oxford English Dictionary, available at http://www.oed.com).

But it can also have a more narrow, technical definition, meaning

             “[a] legal action or process; any act done by authority of a court of
             law; a step taken by either party in a legal case.” Proceeding,
             Oxford English Dictionary, available at http://www.oed. com; see
             also Black's Law Dictionary 1241 (8th ed.2004) (defining
             proceeding either narrowly as (1) “[t]he regular and orderly
             progression of a lawsuit, including all acts and events between
             the time of commencement and the entry of judgment;” (2) “[a]ny
             procedural means for seeking redress from a tribunal or agency;”
             and (3) “[t]he business conducted by a court or other official body;
             a hearing” or more broadly as “an act or step that is part of a larger
             action.”).
Id. at 1169-70.

      As the Ninth Circuit found, then, more than a dictionary is needed to determine

what Congress meant when it used the word “proceeding” in Section 1515(a)(1)(B). Id. at

1170. Faced with this, the Ninth Circuit turned to context.

      First, the Ninth Circuit noted that, as Justice Scalia and Bryan A. Garner, editor of

Black’s Law Dictionary for over the past 20 years, wrote, “sometimes context indicates that

a technical meaning applies and when law is the subject, ordinary legal meaning is to be

expected,” even though it “often differs from common meaning.” Id. (quoting Antonin Scalia

& Bryan A. Garner, READING THE LAW: THE INTERPRETATION OF LEGAL TEXTS

73 (2012) (emphasis added)).

      Further, the Ninth Circuit found that this expectation was affirmed by several

factors. First, “the descriptor ‘official’ indicates a sense of formality normally associated

with legal proceedings, but not necessarily with a mere ‘action or series of actions.’” Id.

Moreover, “when used to define ‘official proceeding,’ the word ‘proceeding’ is surrounded

with other words that contemplate a legal usage of the term,’ including ‘judge or court,’



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‘Federal grand jury,’ ‘Congress’ and ‘Federal

 government agency.’” Id. In short, these context clues suggest that the technical, legal

 meaning of “proceeding” applies in Section 1515. Id.

      As the technical, legal meaning of “proceeding” connotes “business done in courts”

and “an act done by the authority or direction of the court, express or implied,” the Ninth

Circuit found that “the definition of the term ‘proceeding’ strongly suggests that a

‘proceeding before a Federal Government agency which is authorized by law’ does not

encompass a criminal investigation.” Id. at 1170 (quoting commentary to definition in

Black’s Law Dictionary at 1241 (8th Cir. 2004) (internal citations omitted)).

      Likewise, this evidence that when Congress used “proceeding” in Section 1515, it

meant to suggest a technical, legal “proceeding” also strongly suggests that “a proceeding

before Congress” (1) does not include every action, series of actions, courses of conduct, or

behavior of Congress, but some narrower universe of “proceedings,” and (2) that the

narrower universe is limited by the technical, legal understanding of that word as

connoting “business done in courts” and “an act done by the authority or direction of the

court, express or implied.” See id.

      As the Ninth Circuit went on to find in Ermoian, “the broader statutory context”

also supports this reading of “proceeding.” Id. at 1171. “Examining the term “proceeding”

within the grammatical structure of the definition at issue, it becomes clear that the term

connotes some type of formal hearing.” Id.

      First, “[t]he use of the preposition ‘before’ suggests an appearance in front of the

agency sitting as a tribunal.” Id.; see also United States v. Ramos, 537 F.3d 439, 462–63




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(5th Cir. 2008) (stating that “use[ of] the preposition ‘before’ in connection with the term

‘Federal Government agency’ . . . implies that an ‘official proceeding’ involves some formal

convocation of the agency in which parties are directed to appear, instead of any informal

investigation conducted by any member of the agency.”)

      Second, most of the conduct contemplated by Section 1512 (the Section that Section

1515 exists to clarify) also brings to mind formal convocations in which parties are

directed to appear, and in which someone will adjudicate or deliberate upon the parties’

presentations:

             Section 1512 refers to “prevent[ing] the attendance or testimony
             of any person in an official proceeding”; “prevent[ing] the
             production of a record, document, or other object, in an official
             proceeding”; and “be[ing] absent from an official proceeding to
             which that person has been summoned by legal process.” 18
             U.S.C. § 1512(a)(1)(A)-(B), (a)(2)(B)(iv).
Id. at 1171-72. Thus, “[t]he use of the terms “attendance”, “testimony”, “production”, and

“summon[ ]” when describing an official proceeding strongly implies that some formal

hearing before a tribunal is contemplated.” Id. at 1172.

      In Yates v. United States, 574 U.S. 528, 543 (2015), the Supreme Court applied

similar principles to find that fish – jettisoned from a boat by a fisherman who wished to

avoid detection of his having kept undersized fish – did not qualify as “tangible objects”

within the meaning of 18 U.S.C. § 1519, which states that one who “knowingly alters,

destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any record,

document, or tangible object with the intent to impede, obstruct, or influence the

investigation or proper administration of” certain matters is guilty of a crime.

Notwithstanding the lay meaning of “tangible object,” among the reasons the Supreme



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Court found that fish fell outside of that term as it was used in Section 1519 was the

principle that holds that “a word is known by the company it keeps.” Yates, 574 U.S. at

543. Application of this principle, noscitur a sociis, the Court found, avoids “ascribing to one

word a meaning so broad that it is inconsistent with its accompanying words, thus giving

unintended breadth to the Acts of Congress.” See Yates v. United States, 574 U.S. 528, 543

(2015) (quoting Gustafson v. Alloyd Co., 513 U.S. 561 (1995)). In Yates, the Court applied

the principle to conclude that fish were not “tangible objects” as used in 18 U.S.C. § 1519

notwithstanding its lay meaning in part because that term “is the last in a list of terms

that begins ‘any record [or] document.’” Id. at 543. Moreover, the Court noted that “[t]he

Section applies to anyone who ‘alters, destroys, mutilates, conceals, covers up, falsifies, or

makes a false entry in any record, document, or tangible object’ with the requisite

obstructive intent.” Id. at 544. “The last two verbs, ‘falsif[y]’ and ‘mak[e] a false entry in,’

typically take as grammatical objects records, documents, or things used to record or

preserve information, such as logbooks or hard drive.” Id. “The term is therefore

appropriately read to refer, not to any tangible object, but specifically to the subset of

tangible objects involving records and documents, i.e., objects used to record or preserve

information.” Id.; see also, e.g., United States v. Espy, 145 F.3d 1369, 1370–71 (D.C. Cir.

1998) (“Where a general term follows a list of specific terms, the rule of ejusdem generis

limits the general term as referring only to items of the same category.”).

       The principles applied in Ermoian and Yates should also settle what Congress

meant by “proceeding before Congress” in Section 1515, that is, that Congress used that

phrase to refer to proceedings that are tribunal-like. Again, looking at Section 1515 as a




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whole, the government must prove that what Mr. Fitzsimons allegedly obstructed was a

proceeding “before” Congress, suggesting “an appearance in front of the agency sitting as a

tribunal’” id. at 1171 (emphasis added), and a proceeding in which “parties are directed to

appear,” Ramos, 537 F.3d at 462–63 (emphasis added). And the proceedings surrounding

“Congressional proceeding” in Section 1515 are proceedings before various judges or courts

of the United States, a federal grand jury, a federal agency when the proceeding is

authorized by law, or an insurance regulatory official, agent, or examiner appointed to

“examine the affairs.” See 18 U.S.C. § 1515(a)(1). All these share qualities of judicial or

quasi-judicial qualities, like tribunals or administrative tribunals. They are all “[a] court

of justice or other adjudicatory bod[ies],” “court-like decision-making authorit[ies] that

resolves disputes, esp. those in which one disputant is a government agency or

department; an administrative agency exercising a quasi-judicial function,” or “implement

legislative policy.” See TRIBUNAL, BLACK’S LAW DICTIONARY (11th ed. 2019).

      Further, the broader context of Section 1512 itself reveals the frequent appearance

of “terms ‘attendance’, ‘testimony’, ‘production’, and ‘summon[]’ when describing an official

proceeding,” and this also “strongly implies that some formal hearing before a tribunal is

contemplated.” Ermoian, 752 F.3d at 1172 (emphasis added). 4

      Moreover, even the title of the offense relates to “Tampering with a witness, victim,



      4  Black’s Law Dictionary defines a “tribunal” as “[a] court of justice or other ad-
judicatory body.” TRIBUNAL, BLACK’S LAW DICTIONARY (11th ed. 2019). That same
definition also gives a sub-definition for an “administrative tribunal” as “[a] court-like
decision-making authority that resolves disputes, esp. those in which one disputant is a
government agency or department; an administrative agency exercising a quasi-judicial
function.” Id. It further defines the same as “[a] governmental division established to
implement legislative policy.” Id.



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or an informant.” Id.; see I.N.S. v. Nat’l Ctr. for Immigrants’ Rts., Inc., 502 U.S. 183, 189,

112 S. Ct. 551, 556, 116 L. Ed. 2d 546 (1991) (“the title of a statute or Section can aid in

resolving an ambiguity in the legislation’s text.”). Because this conduct is specifically

related to tribunals as defined above, it further adds support to interpreting “official

proceeding” to mean some formal tribunal or adjudicative proceeding.

      The scheme of Chapter 73 as a whole provides even further evidence that

“proceedings” that lack the characteristics of a tribunal, or that have nothing to do with

adjudicating or deliberation, fall outside of “proceeding” as Congress used that term in

Section 1515. “A statutory provision that may seem ambiguous in isolation is often clarified

by the remainder of the statutory scheme[,] because only one of the permissible meanings

produces a substantive effect that is compatible with the rest of the law.”). See NASDAQ

Stock Mkt., LLC v. Sec. & Exch. Comm’n, 961 F.3d 421, 426 (D.C. Cir. 2020) (quoting Util.

Air Regulatory Grp. v. E.P.A., 573 U.S. 302, 321 (2014)). Here, almost every one of the

statutes contained in Chapter 73 proscribes conduct that could obstruct the due

administration of law in settings like tribunals, in which facts are adjudicated and

deliberated under the law.

      Specifically, Sections 1501 through 1509 address conduct toward process servers,

extradition agents, officers of the court or jurors, records or process, bail, Congressional

inquiries or investigations, “judge, juror, witness, or court officer” (Section 1507). Sections

1513, 1514, and 1514a address retaliatory conduct toward witnesses for attending or

testifying in official proceedings or investigations preceding them. Others address

investigations that precede such tribunal-like proceedings: Section 1510 deals with




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obstruction of criminal investigations; Sections 1516 through 1518 criminalize obstruction

of specific types of other investigations. Sections 1519 and 1520 prohibit the destruction,

alteration, or falsification of records during a federal investigation, or that relate to

corporate audits. Section 1521 relates to retaliation against judges and investigators.

       As all of these laws are related to the obstruction of tribunal-like proceedings in the

administration of justice (or explicitly relate to investigations that precede such

proceedings) and serve to protect participants therein, it follows that in order to prove a

violation of Section 1512(c), there must be proof that the “official proceeding” the

defendant allegedly obstructed was a proceeding related to the administration of justice in

a similar setting.

       As such, the Court should conclude that the “official proceeding” — and more

specifically, the “proceeding before Congress” — that was allegedly obstructed by Mr.

Fitzsimons must relate to a proceeding in which Congress is acting as a tribunal and

which related to the administration of justice. In doing so, the Court would be in line with

findings of many courts regarding the meaning of “official proceeding” in other contexts.

See, e.g., Arthur Andersen LLP v. United States, 544 U.S. 696, 708 (2005) (interpreting

Section 1512(c) as requiring that the defendant have “knowledge that his actions are likely

to affect [a] judicial proceeding” in order to have the “requisite intent to obstruct”); United

States v. Burge, 711 F.3d 803, 809 (7th Cir. 2013) (considering application of Section 1512

and noting “[o]bstruction of justice occurs when a defendant acts to impede the types of

proceedings that take place before judges or grand juries”); United States v. Sampson, 898

F.3d 287, 300 (2d Cir. 2018) (noting Section 1512 “broadly criminalizes various forms of




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witness tampering”); United States v. Young, 916 F.3d 368, 386 (4th Cir.), cert. denied, 140

S. Ct. 113, 205 L. Ed. 2d 33 (2019) (finding a lack of sufficient evidence to uphold

defendant’s obstruction of justice convictions because it found the defendant’s lies to the

FBI were not connected closely enough to a specific official proceeding, specifically a grand

jury investigation or proceeding).

      In sum, just as the “criminal investigation” in Ermoian did not meet the definition of

an “official proceeding” under the obstruction of justice statute with the full context in

mind, neither do the election certification proceedings meet that same definition here.

Though the election certification proceedings may be “official,” no one is “before” the

Congress in those proceedings; the proceedings entail no formal investigation or

consideration of facts; and there is little to no discretion on the part of the Joint Session of

Congress and its Presiding Officer. No parties are summoned to attend the proceedings; no

witness or evidence is produced, offered or taken; and nothing is adjudicated by Congress.

As such, the certification proceedings are nothing like tribunal proceedings, and have

nothing in common with the “business done in courts,’” or acts “done by the authority or

direction of the court, express or implied.’” See Ermoian,752 F.3d at 1170 (“‘Proceeding’ is

a word much used to express the business done in courts ” and “is an act done by the

authority or direction of the court, express or implied.”) (quoting Black’s Law Dictionary

commentary, cited supra).

     B.     Legislative intent of 1512(c)(2) supports this interpretation

      Again, the text and context of Sections 1512(c)(2) and 1515 make clear that Section

1512(c)(2) does not apply to every set of actions that would qualify as a “proceeding” in the




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lay sense, and that it does not apply to proceedings that lack the characteristics of a

tribunal convened to adjudicate or deliberate on the administration of justice. As such, the

Court need not turn to legislative history to find that Count Three must be dismissed

because the counting of electoral votes does not qualify as an “official proceeding” under

Section 1515. Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 568 (2005)

(“Extrinsic materials have a role in statutory interpretation only to the extent they shed a

reliable light on the enacting Legislature’s understanding of otherwise ambiguous

terms.”). But that history does support the same conclusion.

              1.     Congress passed Section 1512 as part of the Victim and Witness
                     Protection Act of 1982.

      Section 1512 was originally passed into law as part of the Victim and Witness

Protection Act of 1982. See Pub. L. 97-291 § 4 (1982). As indicated in the Report of the

Senate Judiciary Committee accompanying the bill, “the terms [of Section 1512(a)(1)] are

similar to those used by the National Commission on Reform of Federal Criminal Laws,”

published in 1971. 5 S. Rep. 97-532, at *16 & n.7 (1982) ((citing Final Report of the National

Commission on Reform of Federal Criminal Laws (1971). 6



      5   The National Commission on Reform of Federal Criminal Laws was a presidential
advisory committee established in 1966 to study, formulate, and recommend legislation to
Congress to improve the federal criminal justice system. See
https://www.nixonlibrary.gov/finding-aids/fg-172-national-commission-reform- federal-
criminal-laws-white-house-central-files. The Commission consisted of twelve legislators,
judges, and lawyers. See id.; see also Report at v. The Report itself was subtitled “A
Proposed New Federal Criminal Code (Title 18, United States Code),” and consisted of a
“proposed revision of Title 18, United States Code as a work basis upon which the
Congress may undertake the necessary reform of the substantive federal criminal laws.”
Id. at i.
        6 This is available at https://www.ndcourts.gov/Media/Default/Legal%20Resou

rces/legal-research/criminal-code/FinalReport.pdf (hereinafter, “Commission Report”).



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      In particular, as shown in this comparison table, it is apparent that two Sections in

the Commission Report, Sections 1321 and 1322, both under the heading “Obstruction of

Justice,” served as models for the original Section 1512(a) enacted in 1982.

   Commission Report Sections 1321                 Original Section 1512(a) (1982)
               & 1322




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   Section 1321(1):                             Whoever knowingly uses intimidation or
   (1) Tampering. A person is guilty of         physical force, or threatens another
   a Class C felony if he uses force,           person, or attempts to do so, or engages
   threat, deception or bribery:                in misleading conduct toward another
      (a) with intent to influence              person, with intent to—,
      another’s testimony in an official           (1) influence the testimony of any
      proceeding; or                               person in an official proceeding;
      (b) with intent to induce or                 (2) cause or induce any person to—,
      otherwise cause another:                        (A) withhold testimony, or withhold
         (i) to withhold any testimony,               a record, document, or other object,
         information, document or thing               from an official proceeding;
         from an official proceeding,                 (B) alter, destroy, mutilate, or
         whether or not the other person              conceal an object with intent to
         would be legally privileged to do            impair the object’s integrity or
         so;                                          availability for use in an official
         (ii) to violate Section 1323                 proceeding;
         (Tampering with Physical                     (C) evade legal process summoning
         Evidence);                                   that person to appear as a witness,
         (iii) to elude legal process                 or to produce a record, document,
         summoning him to testify in                  or other object, in an official
         an official proceeding; or                   proceeding; or
         (iv) to absent himself from an               (D) be absent from an official
         official proceeding to which he              proceeding to which such person
         has been summoned.                           has been summoned by legal
  Section 1322(1):                                    process; or
   (1) Offense. A person is guilty of a            (3) hinder, delay, or prevent the
   Class C felony if, believing                    communication to a law enforcement
   another may have information                    officer or judge of the United States of
   relating to an offense, he deceives             information relating to the
   such other person or employs                    commission or possible commission of
   force, threat or bribery with intent            a Federal offense or a violation of
   to hinder, delay or prevent                     conditions of probation, parole, or
   communication of such                           release pending judicial proceedings;
   information to a law enforcement            shall be fined not more than $250,000 or
   officer. . . .                              imprisoned not more than ten years, or
  Commission Report, §§ 1321(1),               both. Pub. L. 97-291 § 4(a) (1982)
  1322(1), at 113-14, 116                      (emphasis added).
  (emphasis added). 7


      7 Section 1323 of the Commission Report, referenced above, provided in relevant
part: “A person is guilty of an offense if, believing an official proceeding is pending or
about to be instituted or believing process, demand or order has been issued or is about to
be issued, he alters, destroys, mutilates, conceals or removes a record, document or thing
with intent to impair its veracity or availability in such official proceeding or for the



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      As shown on the left side of the table above, Section 1321 of the Commission Report,

titled “Tampering With Witnesses and Informants in Proceedings,” Commission Report at

113, addressed obstruction of “official proceedings.” In contrast, Section 1322(1), titled

“Tampering with Informants in Criminal Investigations,” id. at 116, addressed obstruction

in investigations and other proceedings prior to the institution of an official proceeding.

      In parallel on the right side of the table, the first incarnation of subsection 1512(a)

tracked the Commission’s proposals closely. Subsections 1521(a)(1) and (2) adopted the

structure, substance, and much of the specific language of subsection 1321(1) from the

Commission’s Report (addressing official proceedings), while subsection 1521(a)(3) tracked

Section 1322(1) (addressing investigations). Like the Commission’s proposed Section 1321,

Section 1512(a)(1) and (2) first laid out certain actus rei (intimidation, physical force,

threats, or misleading conduct), followed by a set of intended results that are nearly

identical to the Commission’s proposed language. Section 1512(a)(3), in turn, includes the

identical language addressing “hinder[ing], delay[ing], or prevent[ing] the communication

[of relevant information] to a law enforcement officer” from the Commission’s proposal in

Section 1322, while omitting any mention of official proceedings. Compare Pub. L. 97-291 §

4 (1982), with Commission Report §§ 1321, 1322.

      The definitions in the Commission Report confirm this intentional delineation

between actions taken to obstruct official proceedings, on the one hand, and actions taken

to obstruct investigations prior to the institution of an official proceeding, on the other.

“Official proceeding” was defined by the Commission as a proceeding involving the taking



purposes of such process, demand or order.” Commission Report, § 1323(1).



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of evidence:

               a proceeding heard or which may be heard before any government
               agency or branch or public servant authorized to take evidence
               under oath, including any referee, hearing examiner,
               commissioner, notary or other person taking testimony or a
               deposition in connection with any such proceeding

 Commission Report, § 109 (ad), at 9 (emphasis added).

      In contrast, the Commission’s definition of “law enforcement officer,” as used in

Section 1322(1), confirms that that Section addressed investigations prior to the

institution of an official proceeding: “a public servant authorized by law or by a

government agency or branch to conduct or engage in investigations or prosecutions for

violations of law.” Id. § 109(w), at 8 (emphasis added).

      Today, subsections 1512(a)(2) and (b) follow the same structure as the original

subsection 1512(a), and Sections 1321 and 1322 in the Commission Report, continuing to

differentiate between official proceedings and investigations: 8

               (a)(2) Whoever uses physical force or the threat of physical force
               against any person, or attempts to do so, with intent to—


      8   Subsection 1512(a)(1) similarly differentiates between intent to obstruct an
“official proceeding” versus an investigation with a slightly different structure:
(a)(1) Whoever kills or attempts to kill another person, with intent to—
      (A) prevent the attendance or testimony of any person in an official proceeding;
      (B) prevent the production of a record, document, or other object, in an official
proceeding; or
       (C) prevent the communication by any person to a law enforcement officer or judge
of the United States of information relating to the commission or possible commission of a
Federal offense or a violation of conditions of probation, parole, or release pending judicial
proceedings;
      shall be punished as provided in paragraph (3).
18 U.S.C. § 1512(a)(1) (emphasis added).



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 (A) influence, delay, or prevent the testimony of any person in an
 official proceeding;
 (B) cause or induce any person to—
 (i) withhold testimony, or withhold a record, document, or other
 object, from an official proceeding;
 (ii) alter, destroy, mutilate, or conceal an object with intent to
 impair the integrity or availability of the object for use in an
 official proceeding;
 (iii) evade legal process summoning that person to appear as a
 witness, or to produce a record, document, or other object, in an
 official proceeding; or
 (iv) be absent from an official proceeding to which that person
 has been summoned by legal process; or
 (C) hinder, delay, or prevent the communication to a law
 enforcement officer or judge of the United States of information
 relating to the commission or possible commission of a federal
 offense or a violation of conditions of probation, supervised
 release, parole, or release pending judicial proceedings;
 shall be punished as provided in paragraph (3).
 ...
 (b) Whoever knowingly uses intimidation, threatens, or corruptly
 persuades another person, or attempts to do so, or engages in
 misleading conduct toward another person, with intent to—
 (1) influence, delay, or prevent the testimony of any person in an
 official proceeding;
 (2) cause or induce any person to—
 (A) withhold testimony, or withhold a record, document, or other
 object, from an official proceeding;
 (B) alter, destroy, mutilate, or conceal an object with intent to
 impair the object’s integrity or availability for use in an official
 proceeding;
 (C) evade legal process summoning that person to appear as a
 witness, or to produce a record, document, or other object, in an
 official proceeding; or
 (D) be absent from an official proceeding to which such person
 has been summoned by legal process; or
 (3) hinder, delay, or prevent the communication to a law
 enforcement officer or judge of the United States of information



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             relating to the commission or possible commission of a Federal
             offense or a violation of conditions of probation supervised release
             [sic], parole,, [sic] or release pending judicial proceedings;
             shall be fined under this title or imprisoned not more than 20
             years, or both.

18 U.S.C. § 1512(a)(2) & (b) (emphasis added).

      This structure and language, as originally adopted from the Commission Report and

carried through to the current statute, illustrates Congress’s intent to address obstruction

of justice both in official proceedings at which evidence is taken, and the gathering of

information and evidence in investigations prior to the institution of an official proceeding.

In such context, the word “official” is used to differentiate between the periods before and

after an investigation has concluded and a formal case has been instituted. Prior to the

institution of such an official proceeding, the provisions addressing investigations, such as

subsections 1512(a)(2)(C) and (b)(3), apply, while after institution, subsections

1512(a)(2)(A) and (B) and (b)(1) and (2) apply to the official proceedings.

      Although Congress did not explicitly adopt the definition of “official proceeding”

from the Commission Report, its considered adoption of the same structure and language

of the operative sections of the Report, as stated in the Senate Judiciary Committee

Report—including the differentiation between obstruction of the administration of justice

before and after an investigation is concluded and an official proceeding is instituted—

supports limiting the definition of “official proceeding” in Section 1512 to proceedings at

which evidence is taken.

              2.     Section 1515’s definition of “official proceeding” was made law as
                     part of the Victim and Witness Protection Act of 1982.
      The legislative history behind Section 1515 provides the further assurances to this




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Court that Congress intended to have Section 1515’s definition of “official proceeding”

apply only to proceedings related to the administration of justice.

      Section 1515’s definition of “official proceeding” was made law as part of the Victim

and Witness Protection Act of 1982. See PUB. L. 97-291, § 4(a), Oct. 12, 1982, 96 Stat.

1252. As reflected in the Senate Judiciary Committee’s Report on Senate Bill 2420, the bill

as originally proposed created Section 1512 to create “offenses against witnesses, victims,

or informants which occur before the witness testifies or the informant communicates with

law enforcement officers,” and used what was originally intended to be Section 1514 to

define the terms used in Section 1512 and 1513, including “official proceeding.” S. REP.

97-532 at 14, 22. In discussing the interplay between a proposed “broad residual clause”

included within Section 1512 and the definition of “official proceeding” in Section 1514, as

reflected in the report, the legislation intended to make it an offense if a person

“corruptly, by threats of force, or by any threatening letter or communication,

intentionally influences, obstructs, or impedes or attempts to influence, obstruct, or

impede the enforcement and prosecution of federal law under which an official proceeding

is being conducted, or the exercise of a legislative power of inquiry.” Id. at 17 (emphasis

added). As the report continued, the proposed legislation was

             an outgrowth of congressional recognition of the variety of corrupt
             methods by which the proper administration of justice may be
             impeded or thwarted, a variety limited only by the imagination of
             the criminally inclined. In the committee’s view, this observation
             leads to the conclusion that the purpose of preventing an
             obstruction or miscarriage of justice cannot be fully carried out by
             a simple enumeration of the commonly prosecuted obstruction
             offenses. There must also be protection against the rare type of
             conduct that is the product of the inventive criminal mind and
             which also thwarts justice. Some examples of such conduct,




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            actually prosecuted under the current residual clauses, which
            would probably not be covered in this series without a residual
            offense clause, are as follows:
            (i)     a conspirator arranging to have an unnecessary abdominal
                    operation in order to cause a mistrial of an ongoing trial in
                    which he was a defendant.
            (ii)    persons plying the illiterate administrator of an estate with
                    liquor and obtaining documents from him which they then
                    used in an effort to have a civil case dismissed.
            (iii)   the defendant planting an illegal bottle of liquor on the
                    victim’s premises in order to discredit the victim, who was
                    planning on being a witness against the defendant in a
                    separate case.
            (iv)    a conspiracy to cover up the Watergate burglary and its
                    aftermath by having the central intelligence agency seek to
                    interfere with an ongoing FBI investigation of the burglary.
            In order to reach such cases, as well as the example previously
            referred to in which the conduct was found not to come within the
            scope of the current residual clause, the committee determined to
            include subsection (a)(3). The committee does not intend that the
            doctrine of ejusdem generis be applied to limit the coverage of this
            subsection. Instead, the analysis should be functional in nature
            to cover conduct the function of which is to tamper with a witness,
            victim, or informant in order to frustrate the ends of justice. For
            example, a person who induces another to remain silent or to give
            misleading information to a federal law enforcement officer would
            be guilty under subsection (a)(3), irrespective of whether he
            employed deception, intimidation, threat, or force as to the
            person.
            The first branch of the proposed subsection, referring to the
            ‘enforcement and prosecution of federal law’ is designed to carry
            forward the basic coverage in 18 U.S.C. 1503. The latter two
            branches of the subsection, referring to the ‘administration of a
            law under which an official proceeding is being conducted’ and to
            the ‘exercise of a legislative power of inquiry,’ are designed to
            continue the general scope of the final paragraphs of 18 U.S.C.
            1505.

Id. at 18-19 (emphasis added). Despite this extensive consideration, the proposed “broad

residual clause” was ultimately removed from the proposed legislation. See 128 CONG.




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REC. 26810 (statement by Sen. John Heinz: “Subsection (3) of section 1512(a) of the

Senate passed bill, general obstruction of justice residual clause of the intimidation

section, was taken out of the bill as beyond the legitimate scope of this witness protection

measure. It also is probably duplicative of obstruction of justice statutes already in the

books.”). However, the proposed definition of “official proceedings” that was part of what

was originally intended to be Section 1514 remained intact and moved to its current

location in Section 1515. See id. at 26807 (showing how amended version of bill moved

Section 1514’s definitions to Section 1515).

         Although the “broad residual clause” in the “official proceeding” definition initially

served did not then make it into law, the origin of the definition, particularly that it was

introduced into the universe of obstruction statutes as part of an effort to address creative

means of frustrating the administration of justice, confirms that it only includes

proceedings related to that purpose and not proceedings like the counting of electoral

votes.

                3.     Congress added subsection 1512(c) as part of the Sarbanes-Oxley Act
                       of 2002.

         Congress amended Section 1512 in 2002 to add what is presently subsection

1512(c), the provision under which Mr. Fitzsimons is charged. In doing so, Congress

limited the Section to actions affecting “official proceedings” but provided no further

clarification as to the scope or meaning of the term. See Pub. L. 107-204 § 1102 (2002). See

also 18 U.S.C. § 1512(c).

         Section 1512(c) was passed as part of the Sarbanes- Oxley Act of 2002, “[a]n Act to

protect investors by improving the accuracy and reliability of corporate disclosures made



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pursuant to securities laws, and for other purposes.” SARBANES- OXLEY ACT OF 2002,

Pub. L. No. 107-204, 116 Stat. 745. The Section was added in part to ensure that there

would be liability for those who destroyed records before an “official proceeding” had

convened even if they did not foresee one convening (so long as their intent is to ensure

that the records would be unavailable), and even if they acted alone (rather than caused

others to act in ways that obstructed justice), largely in reaction to Arthur Andersen LLP

having evaded criminal liability under Section 1512(b)(2). See Arthur Andersen LLP v.

United States, 544 U.S. 696, 707-07. The Senate Judiciary Committee report described the

Act’s purpose as “provid[ing] for criminal prosecution and enhanced penalties of persons

who defraud investors in publicly traded securities or alter or destroy evidence in certain

Federal investigations.” S. REP. NO. 107-146, at 2 (2002) (emphasis added). The

Committee Report noted that much of Arthur Andersen’s document destruction was

“undertaken in anticipation of a SEC subpoena to Andersen for its auditing and consulting

work related to Enron.” Id. at 4. Congress was adamant that “[w]hen a person destroys

evidence with the intent of obstructing any type of investigation and the matter is within

the jurisdiction of a federal agency, overly technical legal distinctions should neither

hinder nor prevent prosecution and punishment.” Id. at 6-7.

      In short, the Act’s preamble and the legislative history shows that Congress Section

1512(c) was aimed particularly at preventing corporations and their employees from

destroying records relevant to federal securities investigations. And not only did the

addition of this subsection not broaden or change the meaning of “proceeding” in Section

1515, but the history of the addition reinforces the notion that 1512 exists to preserve the




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integrity of certain types of proceedings, that is, proceedings with characteristics of a

tribunal, at which evidence is taken, and matters are adjudicated or deliberated. This

confirms that proceedings that lack these characteristics, which include the counting of the

electoral votes that took place on January 6, are not “official proceedings.”

     C.    The Department of Justice’s Criminal Resource Manual supports this
           interpretation.

      The defense position on the meaning of “official proceeding” is also consistent with

the Department of Justice’s own interpretation, as reflected in their Criminal Resource

Manual discussing the application of Section 1512:

             Section 1512 of Title 18 constitutes a broad prohibition against
             tampering with a witness, victim or informant. It proscribes
             conduct intended to illegitimately affect the presentation of
             evidence in Federal proceedings or the communication of
             information to Federal law enforcement officers.
CRIMINAL RESOURCE MANUAL, CRM 1729, Department of Justice (emphasis added). 9

     D.    Summary

      The allegation that Mr. Fitzsimons obstructed the certification of the electoral

college vote is not a crime under 18 U.S.C. § 1512(c). Indeed, no court has ever interpreted

an “official proceeding” as that term is used in Section 1512(c) to apply to a ceremonial

function such as the certification of the electoral college vote. The Government is asking

this Court to go well beyond the plain meaning of the term “proceeding,” its use in the

grammatical context of the “official proceeding” definition, the broader statutory context,

and the legislative history to allow this prosecution to go forward. Mr. Fitzsimons


      9 This is available at https://www.justice.gov/archives/jm/criminal-resource- manual-
1729-protection-gov-ernment-processes-tampering-victims-witnesses-or) (last visited
11/28/2021).



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respectfully requests that the Court decline the invitation and dismiss Count Three.

       COUNT THREE FAILS TO ALLEGE CONDUCT THAT “OTHERWISE
          OBSTRUCTS, INFLUENCES, OR IMPEDES ANY OFFICIAL
                           PROCEEDING”
      Count Three fails for a second, separate reason that also reinforces the first (i.e., the

argument that the counting of the electoral votes does not qualify as an “official

proceeding”). That is, Count Three fails to allege an actus reus that falls within 18

U.S.C. § 1512(c)(2). This is a second ground for dismissal of Count Three.

      Because Section 1512(c)(2) only prohibits “otherwise obstruct[ing], influenc[ing], or

imped[ing] any official proceeding,” only acts that fall within that clause violate the act.

And “entering and remaining in the United States Capitol without authority, committing

an act of civil disorder, and engaging in disorderly and disruptive conduct,” which is what

the Superseding Indictment alleges Mr. Fitzsimons did to obstruct, does not fall within

that “otherwise” clause.

      This is because, again, the “otherwise” clause must be construed in light of 1512(c)

as a whole, and the broader context for that provision. Again, Supreme Court case law

demonstrates that this is so, as the Department of Justice’s own Attorney General recently

explained. Relying on Begay v. United States, 553 U.S. 137 (2008), and Yates (discussed

above), the former Attorney General explained:

             [I]t is clear that use of the word ‘otherwise’ in the residual clause
             [of Section 1512(c)(2)] expressly links the clause to the forms of
             obstruction specifically defined elsewhere in the provision. Unless
             it serves that purpose, the word ‘otherwise’ does no work at all and
             is mere surplusage. [An] interpretation of the residual clause as
             covering any and all acts that influence a proceeding reads the
             word ‘otherwise’ out of the statute altogether. But any proper
             interpretation of the clause must give effect to the word
             ‘otherwise’; it must do some work.



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Memorandum from William Barr to Deputy Attorney General Rod Rosenstein and

Assistant Attorney General Steve Engel of June 8, 2018 (hereinafter “Barr Memo”) at 4. 10

After discussing Begay and Yates, and how those cases emphasized that “specific examples

enumerated prior to the residual clause are typically read as refining or limiting in some

way the broader catch-all term used in the residual clause,” he continued,

              Consequently, under the statute’s plain language and structure,
              the most natural and plausible reading of 1512(c)(2) is that it
              covers acts that have the same kind of obstructive impact as the
              listed forms of obstruction — i.e., impairing the availability or
              integrity of evidence — but cause this impairment in a different
              way than the enumerated actions do. Under this construction,
              then, the “catch all” language in clause (c)(2) encompasses any
              conduct, even if not specifically described in 1512, that is directed
              at undermining a proceeding’s truth-finding function through
              actions impairing the integrity and availability of evidence.

Id. at 4-5 (emphasis added). 11
       The former Attorney General noted that case law reflects this application of the


       10  This is available at https://s3.documentcloud.org/documents/5638848/June- 2018-
Barr-Memo-to-DOJ-Muellers-Obstruction.pdf (last visited 11/20/21).
        11 Although Yates was a plurality opinion, Justice Alito’s concurring opinion also

supports the former Attorney General’s and the Defendants’ position. According to Justice
Alito, the statute’s list of nouns, its list of verbs, and its title all stood out as showing that
the statute in question did not reach the conduct of the defendant in that case. Yates, 574
U.S. at 549 (Alito, J., concurring). Regarding the nouns, Justice Alito considered the
application of both noscitur a sociis and ejusdem generis to find that the term “tangible
object” should refer to “something similar to records or documents.” Id. at 549–50. In this
case, Section 1512(c)(1) refers to “a record, document, or other object.” There is no
allegation that Mr. Fitzsimons interfered with any such item, much less any evidence.
Justice Alito then looked at the verbs and noticed some glaring problems trying to apply
those verbs to any tangible object. Id. at 551 (“How does one make a false entry in a
fish?”). Because there was no evidence interfered with by the Fitzsimons (nor will there
ever be), the verbs in Section 1512(c) have no object to reference. Finally, Justice Alito
pointed to the title of the statute: “Destruction, alteration, or falsification of records in
Federal investigations and bankruptcy” and noted “This too points toward filekeeping, not
fish.” Id. at 552 (emphasis added). As Mr. Fitzsimons has already addressed above, the
title of Section 1512 clearly supports a finding that it was not intended to apply to all
forms of obstructive conduct.



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residual clause as only applying to “attempts to interfere with, or render false, evidence

that would become available to a proceeding” or “to prevent the flow of evidence to a

proceeding.” Id. at 5 (citing United States v. Volpendesto, 746 F.3d 273 (7th Cir. 2014)

(soliciting tips from corrupt cops to evade surveillance); United States v. Phillips, 583 F.3d

1261 (10th Cir. 2009) (disclosing identity of undercover agent to subject of grand jury drug

investigation)); see also e.g. United States v. Carson, 560 F.3d 566, 584 (6th Cir. 2009)

(involving false testimony to a grand jury); United States v. Jefferson, 751 F.3d 314, 321 (5th

Cir. 2014) (involving intentional false statements to court during a preliminary injunction

hearing); United States v. Lucas, 499 F.3d 769, 780–81 (8th Cir.2007) (involving a

defendant having others falsely claim ownership of a firearm); United States v. Mintmire,

507 F.3d 1273, 1290 (11th Cir. 2007) (involving defendant’s “attempt[s] to orchestrate”

grand jury witness’s testimony by sending notes to an attorney who in turn “coached” the

witness); United States v. Petruk, 781 F.3d 438, 447 (8th Cir. 2015) (involving false

statements in a court proceeding); United States v. Pugh, 945 F.3d 9, 28 (2d Cir. 2019)

(involving destruction of several USB drives and deletion of data); see also Burge, 711 F.3d

at 809 (involving providing false answers to interrogatories in a civil law suit filed by a

person seeking damages for mistreatment while in police custody, explaining that

§1512(c)(1) “covers obstructive conduct in the form of physical destruction of documents

and records” whereas § 1512(c)(2) covers ‘otherwise’ obstructive behavior to include giving

false statements in interrogatories relating to a civil law suit). As the former Attorney

General correctly observed, “the natural and plausible reading of 1512(c)(2)” requires some

conduct that impairs the integrity and availability of some evidence.




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      This is entirely consistent with the legislative history of Section 1512(c)(2) as noted

by the former Attorney General and discussed above. The legislative history of Section

1512(c)(2) “was expressly designed to ‘clarify and close loopholes in the existing criminal

laws relating to the destruction or fabrication of evidence and the preservation of financial

and audit records.’” Barr Memo at 5-6 (quoting S. REP. NO. 107-146, at 14-15). Stated

differently, “[t]he legislative history thus confirms that § 1512(c) was not intended as a

sweeping provision supplanting wide swathes of obstruction law, but rather as a targeted

gap-filler designed to strengthen prohibitions on the impairment of evidence.” Barr Memo

at 6. The former Attorney General also observed that “[r]eading the residual clause as an

all-encompassing proscription cannot be reconciled either with the other subsections of §

1512, or with the other obstruction provisions in Title 18 that must be read in pari passu

with those in § 1512.” Barr Memo at 5. If this Court were to interpret Section 1512(c)(2)

as the government wants it to — as an all-encompassing catch-all to include something so

unique as protesting the election certification proceedings — “clause (c)(2) would render

all the specific terms in clause (c)(1) surplusage; moreover, it would swallow up all the

specific prohibitions in the remainder of § 1512 — subsections (a), (b), and (d).” Id. And, as

Mr. Barr continued, “[m]ore than that, it would subsume virtually all other obstruction

provisions in Title 18 It is not too much of an exaggeration to say that, if § 1512(c)(2) can

be read as broadly as being proposed, then virtually all Federal obstruction law could be

reduced to this single clause.” Id.; see also Marx v. General Revenue Corp., 568 U.S. 371,

386 (2013) (“[T]he canon against surplusage is strongest when an interpretation would

render superfluous another part of the same statutory scheme.”).




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      In sum, the canons of construction employed by the Court in Begay and Yates, the

text, structure, and the practical application of Section 1512(c)(2) as demonstrated in

caselaw, as well as its legislative history all support a holding that the “otherwise” clause

in Section 1512(c)(2) must be construed in a similar vein to the terms that are in clause

one. Thus, in order for Count Three to sufficiently allege a violation, it must allege some

allegation that Mr. Fitzsimons’s conduct undermined a proceeding’s “truthfinding function

through actions impairing the integrity and availability of evidence.” Barr Memo at 4-5.

Because no such allegation exists in the Superseding Indictment here (nor can there ever

be one), this Court should dismiss Count Three of the Superseding Indictment alleging a

violation of Section1512(c)(2).

    SECTION 1512(c)(2) IS UNCONSTITUTIOANLLY VAGUE BECAUSE
                        “CORRUPTLY” IS VAGUE

      The Court should dismiss Count Three of the Superseding Indictment for a third

and related reason, which is that Section 1512(c)(2) fails to provide constitutionally

required notice of what it prohibits, as applied to Congressional proceedings, because what

it means to otherwise obstruct, influence, or impede such a proceeding “corruptly” is

vague. In the alternative, if there is any construction of “corruptly” that would enable the

statute to pass constitutional muster, it is that “corruptly” as used in Section 1512(c)(2)

means to act with the intent to obtain an unlawful advantage for oneself or an associate

contrary to the due administration of justice. But because the Superseding Indictment

against Mr. Fitzsimons fails to allege anything relating to the administration of justice,

the Court should dismiss in any case.

      In order to comply with the requirements of due process, a statute must give fair



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warning of the prohibited conduct. Bouie v. City of Columbia, 378 U.S. 347, 351 (1964). A

statute is unconstitutionally vague under the due process clause if “it fails to give ordinary

people fair notice of the conduct it punishes, or so standardless that it invites arbitrary

enforcement.” Johnson v. United States, 576 U.S. 591, 595–96 (2015); see also Kolender v.

Lawson, 461 U.S. 352, 357–58 (1983)) (“[A] penal statute must define the criminal offense

with sufficient definiteness that ordinary people can understand what conduct it prohibits,

and do so in a manner that does not invite arbitrary and discriminatory enforcement by

which ‘policemen, prosecutors, and juries ... pursue their personal predilections.’”);

Connally v. General Construction Company, 269 U.S. 385, 391 (1926) (“[A] statute which

either forbids or requires the doing of an act in terms so vague that men of common

intelligence must necessarily guess at its meaning and differ as to its application, violates

the first essential of due process of law.”). The allegations against Mr. Fitzsimons in Count

Three of the Superseding Indictment fail in both respects.

     A.    “Corruptly,” as used in Section 1512(c)(2), is unconstitutionally vague.

     In United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991) the Court of Appeals for

this Circuit ruled that the word “corruptly” is prone to causing vagueness, in a case

concerning Section 1505, which criminalizes

             [w]hoever corruptly, or by threats or force, or by any threatening
             letter or communication influences, obstructs, or impedes or
             endeavors to influence, obstruct, or impede the due and proper
             administration of the law under which any pending proceeding is
             being had before any department or agency of the United States,
             or the due and proper exercise of the power of inquiry under which
             any inquiry or investigation is being had by either House, or any
             committee of either House or any joint committee of the Congress
             –




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        Congress later added the definition of “corruptly” now applicable to it via Section

1515(b)), but in Poindexter, the court analyzed the text without that context. The court

stated that the word “corruptly” in the text “must have some meaning, because otherwise

the statute would criminalize all attempts to ‘influence’ congressional [proceedings] – an

absurd result that Congress could not have intended in enacting the statute.” Poindexter,

951 F.2d at 377 (analyzing application of § 1505 as applied to making false statements to

Congress).

        The court also found that dictionary alone did not make clear what that meaning is.

First, there are several dictionary definitions:

              “[C]orruptly” is the adverbial form of the adjective “corrupt,”
              which means “depraved, evil: perverted into a state of moral
              weakness or wickedness . . . of debased political morality;
              characterized by bribery, the selling of political favors, or other
              improper political or legal transactions or arrangements.” A
              “corrupt” intent may also be defined as “the intent to obtain an
              improper advantage for [one]self or someone else, inconsistent
              with official duty and the rights of others.”

Id. at 378 (quoting United States v. North, 910 F. 2d 843, 881-82 (D.C. Cir. 1990)).

Poindexter argued that, “so defined, ‘corruptly’ is vague as used in section 1505.” Id. at

1378. Mr. Fitzsimons argues that, so defined, “corruptly” as used in Section 1512 is as

well.

        The Court of Appeals acknowledged, and this Court must as well, that “on its face,

the word ‘corruptly’ is vague; that is, in the absence of some narrowing gloss, people must

‘guess at its meaning and differ as to its application.’” Id. at 378. And, just as the court

found that “corruptly influencing” a congressional inquiry “does not at all clearly

encompass lying to Congress, which is, by way of contrast, clearly a violation of § 1001,”



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id., this Court must acknowledge that the conduct alleged in the instant Indictment –

which also would clearly violate another statute (40 U.S.C. § 5104) – does not clearly fall

within “corruptly . . . otherwise obstructing, influencing, or impeding” an official

proceeding, using the dictionary definitions of “corruptly.” That is because “[t]he various

dictionary definitions of the adjective ‘corrupt’” are themselves vague. Id. “Words like

‘depraved,’ ‘evil,’ ‘immoral,’ ‘wicked,’ and ‘improper’ are no more specific – indeed they may

be less specific – than ‘corrupt.’” Id. at 378-79. Because of this, the Court of Appeals for

this Circuit found the word “corruptly” as used in Section 1505 “too vague to provide

constitutionally adequate notice that it prohibits lying to the Congress.” Id. at 379.

      Applying the logic of Poindexter, the only way the use of the word in Section 1512

can avoid the same fate is if the text or other context “clearly indicates a more specific

meaning of the term ‘corruptly,’” and Mr. Fitzsimons’s “conduct comes within that

meaning.” Id. at 379 (considering whether the use of the word, the legislative history of

1505, or judicial gloss on the statute provided a clear indication of a more specific meaning

of the word in that statute, and ultimately concluding that it did not).

      In Poindexter, the court first considered whether the usage of the word “corruptly”

gave it more definition. Id. at 379. The court noted that

             the verb “corrupt” may be used transitively (“A corrupts B,” i.e., “A
             causes B to act corruptly”) or intransitively (“A corrupts,” i.e., “A
             becomes corrupt, depraved, impure, etc.”). So too, the adverbial
             form “corruptly” may have either the transitive or the intransitive
             sense. See 3 Oxford English Dictionary 974 (2d ed. 1989)
             (“corruptly” may mean either “by means of corruption or bribery,”
             i.e., by means of corrupting another, or acting oneself “in a corrupt
             or depraved manner”).

Id. at 379. But the court found that this analysis did not evade the vagueness in the word




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itself because

             either a transitive or an intransitive interpretation would still be
             unconstitutionally vague . . . if specific content is not given to the
             word ‘corruptly.’ Reading ‘corruptly’ to prohibit one from
             influencing another to act ‘immorally’ or ‘improperly’ provides no
             more guidance than does reading it to prohibit one from acting
             ‘immorally’ or ‘improperly’ oneself.

Id. The same issue is presented here: No matter how “corruptly” is used in Section

1512(c)(2) – transitively or intransitively – the word lacks definition and remains too vague

to provide constitutionally-required notice.

     B.   If “corruptly” has a narrower definition, it means “acting with the intent to
          obtain an unlawful advantage for [oneself] or an associate” in a tribunal-like
          forum concerned with the administration of justice.

      If the Court turns to the context surrounding Section 1512(c)(2), legislative history,

and judicial gloss, all explored above in the discussion about “official proceeding,” it will

find at least some evidence of a more specific meaning for “corruptly.” That context

provides evidence that if Congress meant something narrower than “wrongfully” when it

used “corruptly” in Section 1512(c)(2), then it meant “to act with the intent to obtain an

unlawful advantage for [oneself] or an associate” in a tribunal-like forum concerned with

the administration of justice. That is, the context and history of Section 1512(c), show that,

in drafting Section 1512(c)(2), if Congress had in mind anything more than the

unconstitutionally vague concept of “wrongfulness” when it used “corruptly,” Congress had

in mind protecting the integrity of proceedings in which parties come “before” tribunal-like

bodies that are administering justice from those who act with the intent of interfering

with the administration of justice, or the intent of obtaining an unlawful advantage in

such fora. See also United States v. Edwards, 869 F.3d 490, 502 (7th Cir. 2017) (stating




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that pressuring a witness to lie to investigators “falls comfortably within the ambit of the

statute”); United States v. Jones, 207 F. Supp. 3d 576, 584 (E.D.N.C. 2016) (stating that

attempting to cause a federal magistrate judge to compel a phone company to produce text

messages to a law enforcement officer for which no law enforcement basis exists is

understood to be proscribed by the statute).

       Indeed, the definition that the Seventh Circuit’s model jury instructions for Section

1512 reflect this understanding of “corruptly,” providing that

              A person acts “corruptly” if he or she acts with the purpose of
              wrongfully impeding the due administration of justice.

Pattern Criminal Jury Instructions of the Seventh Circuit (2020 ed.) at 629 (emphasis

added). 12

       And every court of appeals that has considered the definition of “the due

administration of justice” has held that it refers to judicial proceedings or investigations.

United States v. Richardson, 676 F.3d 491, 502-503 (5th Cir. 2012) (“[O]bstructing the due

administration of justice means interfering with the procedure of a judicial hearing or

trial.”); United States v. Brenson, 104 F.3d 1267, 1279-80 (11th Cir. 1997) (“due

administration of justice” means “judicial procedure” and “the performance of acts

required by law in the discharge of duties such as appearing as a witness and giving

thoughtful testimony when subpoenaed”); United States v. Warlick, 742 F.2d 113, 116 (4th

Cir. 1984) (defining obstruction of the “administration of justice” as acts that “thwart the




       12These are available at https://www.ca7.uscourts.gov/pattern-jury-
instructions/pattern_criminal_jury_instructions_2020edition.pdf (last visited Nov. 3,
2021).



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judicial process”); United States v. Rasheed, 663 F.2d 843, 851 (9th Cir. 1981)

(“administration of justice” commences with “a specific judicial proceeding”); see also

United States v. Delgado, 984 F.3d 435, 453 (5th Cir. 2021) (“a person acts ‘corruptly’

under [§ 1512(c)(2)] when they act knowingly and dishonestly, with specific intent to

subvert or undermine the due administration of justice”); United States v. Friske, 640 F.3d

1288 (11th Cir. 2011) (“corruptly” means acting “with an improper purpose and to engage

in conduct knowingly and dishonestly with the specific intent to subvert, impede or

obstruct the [forfeiture proceeding]. . .” (citing United States v. Mintmire, 507 F.3d 1273,

1289 (11th Cir. 2007) (brackets original, emphasis added)).

      Of course, as discussed already, there is no allegation in this case that Mr.

Fitzsimons’s conduct had anything to do with interfering with a tribunal, or the flow of

evidence, or anything else characteristic of the administration of justice. As such, the Court

should dismiss Count Three because Section 1512(c)(2) is unconstitutionally vague insofar

as “corruptly” is fatally vague. But even if “corruptly” is not fatally vague because it has

this narrower meaning, the Court should dismiss Count Three for failure to charge an

offense.

THE RULE OF LENITY PROVIDES CONFIRMATION THAT THE COURT
                 SHOULD DISMISS COUNT THREE

      Finally, if recourse to any of the “traditional tools of statutory construction leaves

any doubt” about the meaning of “corruptly obstructing, influencing, or impeding a

proceeding before Congress,” as those terms are used in Section 1512(c)(2), this Court

could also invoke the rule that “ambiguity concerning the ambit of criminal statutes should

be resolved in favor of lenity.” Yates, 574 U.S. at 547-48 (quoting Cleveland v. United



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States, 531 U.S. 12, 25 (2000), in turn quoting Rewis v. United States, 401 U.S. 808, 812

(1971)). As it was in Yates, “[t]hat interpretative principle is relevant here, where the

Government urges a reading of [Section 1512(c)(2)] that exposes individuals to 20-year

prison sentences” for obstructing any proceeding before Congress in any manner that it

deems “corrupt.” Id. (citing Liparota v. United States, 471 U.S. 419, 427 (1985))

(“Application of the rule of lenity ensures that criminal statutes will provide fair warning

concerning conduct rendered illegal and strikes the appropriate balance between the

legislature, the prosecutor, and the court in defining criminal liability.”).

      “In determining the meaning of “corruptly obstructing, influencing, or impeding a

proceeding before Congress,” as those terms are used in Section 1512, as it was for the

Court in interpreting Section 1519 in Yates, it would also be “appropriate, before

[choosing] the harsher alternative, to require that Congress should have spoken in

language that is clear and definite.” Id. (quoting Cleveland, 531 U.S. at 25, in turn quoting

United States v. Universal C.I.T. Credit Corp., 344 U.S. 218, 222 (1952)). Because

Congress failed to do so, and the government has accused Mr. Fitzsimons such that it is

not “clear and definite” that his conduct violates Section 1512(c)(2), this Court should

dismiss Count Three of the Superseding Indictment against him.

      CONCLUSION

      For all of these reasons, and such others as may be advanced in further briefing on

this motion, and a hearing on this matter, Mr. Fitzsimons respectfully requests that the

Court dismiss Count Three of the Superseding Indictment. 13



      13   Undersigned counsel borrowed much of the argument herein, with permission,



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                                            Respectfully submitted,

                                            /s/ Natasha Taylor-Smith
                                            NATASHA TAYLOR-SMITH
                                            Assistant Federal Defender for the
                                            Eastern District of Pennsylvania




from counsel for several defendants also charged with obstruction in the wake of January
6. These include: counsel for codefendants Randy Knowlton (Ronald Sullivan Jr., Esq., T.
Brent Mayr, Esq., and Camille Wagner), and Patrick Montgomery (Dani Jahn, Esq.), in
Case No. 21-cr-00046-RDM; counsel for Bruno Cua in Case No. 21-cr-00107-RDM
(Jonathan Jeffress, Esq., and William E. Zapf, Esq., of KaiserDillon PLLC); and counsel
for Ethan Nordean in Case No. 21-cr-175-TJK (David B. Smith, Esq., and Nicholas D.
Smith, Esq., of David B Smith PLLC).



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                               CERTIFICATE OF SERVICE

      I, Natasha Taylor-Smith, Assistant Federal Defender, Federal Community

Defender Office for the Eastern District of Pennsylvania, hereby certify that I caused a

copy of the foregoing Defendant’s Motion for Transfer to be served by Electronic Case

Filing (“ECF”) upon Brandon Regan and Puja Bhatia, Assistant United States Attorneys,

United States Attorney’s Office, 555 4th St., NW, Washington, DC 20530.




                                              /s/ Natasha Taylor-Smith
                                              NATASHA TAYLOR-SMITH
                                              Assistant Federal Defender



DATE:        January 6, 2022
